                                         Case 1:01-cv-02221-EGS Document 590-3 Filed 09/26/24 Page 1 of 2
                                                                            Appendix C

Plaintiff       Civil Action         Claim Type           Claim Details (as described in Appendix II, ECF No. 497-4)     Disposition

Frank Adams     1-2221               Retaliation          Retaliated against by being reprimanded, subject of internal   MTD Granted.
                (Blackmon-                                affairs investigation triggered by false accusations that
                Malloy)                                   resulted in corrective documentation being placed in his file,
                                                          as a result of filing complaints of discrimination. See FAC ¶¶
                                                          67, 73, Ex. 11.
                4-943 (Adams I )     Retaliation          Retaliation in selection to Johns Hopkins PELP program (August MTD Granted.
                                                          28, 2003)
                                     Retaliation          Retaliation in selection for a management college (September MTD Granted.
                                                          11, 2003)
                                     Retaliation          Retaliation in selection to the FBI Academy (October 27, 2003) MTD Granted.

                                     HWE                  Hostile work environment--negative remarks of Commander        MTD Granted.
                                                          Callaway
                5-491 (Adams II ) Retaliation             Denied request to transfer                                     MTD Granted.

Sharon Blackmon- 1-2221              Retaliation          Verbal and written complaints of discrimination caused       MTD Granted.
Malloy           (Blackmon-                               unwarranted performance notes in her personnel jacket--5 CP-
                 Malloy )                                 550s issued for a minor infraction that occurred on February
                                                          23, 2001. As a result of disagreeing with the 5 CP-550s, she
                                                          received a CP-534 command discipline report. See FAC ¶ 70

                                     Retaliation          Retaliated against when a CP-550 performance note was          MTD Granted.
                                                          entered in March 2--1 for an incident that occurred in
                                                          September 2000. No action had been taken regarding this
                                                          incident until she complained about the 2000 promotion
                                                          exam, and it was later dismissed. See FAC ¶¶ 70, 73, Ex. 11.

                4-320 (Young )       Discrimination/Retal Retaliation for non-promotion from the 2003 lieutenant         MTD Granted.
                                     iation               promotion exam.
Tyrone Brooks   4-320 (Young )       Discrimination/Retal Discrimination and retaliation in the administration of 2003   MTD Granted.
                                     iation               Sergeant's Examination
Arnold Fields   2-1346 (Fields I )   HWE/Retaliation      Hostile work environment and retaliation                       MTD Granted.
                                       Case 1:01-cv-02221-EGS Document 590-3 Filed 09/26/24 Page 2 of 2
                                                                         Appendix C

                 3-1505 (Fields II ) HWE               Hostile work environment                                       MTD Granted.

                 3-2644 (Bolden-   HWE/Retaliation     Hostile work environment and retaliation                       MTD Granted.
                 Whitaker )
Tammie Green     4-320 (Young )    Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                                   iation               Sergeant's exam
Ave Maria Harris 3-2644 (Bolden-   HWE/Retaliation      Retaliation and hostile work environment                      MTD Granted.
                 Whitaker )
Governor Latson 1-2221             Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                 (Blackmon-        iation               Sergeant's exam
                 Malloy )/4-320
                 (Young )
Kevin Matthews, 1-2221             Discrimination      Discipline received on February 13, 2001                       MTD Granted.
Sr.              (Blackmon-
                 Malloy )
Danny McElroy 1-2221               Discrimination      More severely disciplined than white officers. See FAC ¶ 68,   MTD Granted.
                 (Blackmon-                            Ex. 10 (improper discipline)
                 Malloy )
                 4-320 (Young )    Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                                   iation               Sergeant's exam
Reginald Waters 1-2221             HWE                  Hostile work environment created by racist words. See FAC ¶   Dismissed for lack of subject
                (Blackmon-                              25, Ex. 1.                                                    matter jurisdiction.
                Malloy )
Richard Webb    4-320 (Young )     Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                                   iation               Sergeant's exam
Frank Wilkes     4-320 (Young )    Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                                   iation               Sergeant's exam
Kendrick Young   4-320 (Young )    Discrimination/Retal Discrimination and retaliation stemming from the 2003         MTD Granted.
                                   iation               Sergeant's exam
